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     ORDERED in the Southern District of Florida on October 25, 2018.




                                                   Robert A. Mark, Judge
                                                   United States Bankruptcy Court
_____________________________________________________________________________
                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF FLORIDA
                           www.flsb.uscourts.gov


  IN RE:                                         CASE NO: 14-28079-BKC-RAM
  RALPH Z. AARON
  MARIA J. RICO AARON,
                  DEBTOR(S).
                                 /


  ORDER DENYING DEBTOR’S MOTION TO MODIFY PLAN AND DISMISSING CHAPTER
                                13 CASE


        THIS CASE came on to be heard on October 16, 2018, for Debtor(s)

  Motion to Modify Plan (ECF #220), and based on the record, it is

        ORDERED as follows:

        1. The Motion to Modify Plan is denied without prejudice.

        2. This case is hereby dismissed with prejudice to the Debtor(s)

  filing any bankruptcy proceedings for a period of six (6) months

  from the date hereof as the debtor(s) did not become current with

  $7,693.30 by five o’clock in the afternoon. The last payment received

  by the Trustee was on August 21, 2018.
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     3.    Any funds remaining in the possession of the Standing Chapter

13 Trustee, either in a pre-confirmation or post-confirmation account,

shall be utilized by the Chapter 13 Trustee to be applied to the

payment of any outstanding filing fees or other costs due to the

Clerk of Court with respect to the subject Chapter 13 proceeding.

The Trustee is hereby authorized to disburse such funds, less all

applicable Trustee's fees and costs on each such disbursement.          If

the Trustee does not have sufficient funds available to pay the balance

due in full on behalf of the Debtor(s), the Debtor(s) shall forthwith

pay directly to the Clerk of the United States Bankruptcy Court any

amount due and owing on said filing fees or other costs.

     4.    All pending motions be, and the same are hereby, denied

as moot.

     5.    All motions to reopen or reinstate Chapter 13 cases and

motions to rehear, reconsider or vacate orders dismissing Chapter

13 cases shall only be scheduled for hearing conditioned upon (i)

the Debtor’s attorney attaching to the motion a certificate which

states the Debtor has tendered to the attorney all funds required

to be paid under the Debtor’s Chapter 13 plan to bring the plan current

and that said funds are in the attorney’s trust account, or (ii)

the pro se Debtor attaching to the motion a photocopy of the cashiers

check(s), made payable to the Chapter 13 Trustee, which will be tendered

to the Chapter 13 Trustee to bring the plan current if the motion(s)

is/are heard and the Court reopens or reinstates the Chapter 13 case.

     6.    If the certification or photocopies required in Paragraph

5 of this order are attached to the motion(s), the motions to reopen

or reinstate Chapter 13 cases, and motions to rehear, reconsider,
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or vacate orders dismissing Chapter 13 cases will be scheduled for

hearing before the respective Bankruptcy Judge at the monthly Chapter

13 calendar.

     7.    If the certification or photocopies required in Paragraph

5 of this order are not attached to the motion(s), the motions to

reopen or reinstate Chapter 13 cases, and motions to rehear, reconsider

or vacate orders dismissing Chapter 13 cases will be denied without

further notice or hearing.


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PREPARED BY:

NANCY K.   NEIDICH, ESQUIRE
STANDING   CHAPTER 13 TRUSTEE
P.O. BOX   279806
MIRAMAR,   FL 33027-9806

THE CLERK OF COURTS, is directed to mail a conformed copy of this
Order to all creditors and interested parties immediately upon
receipt thereof.
